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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
TERESA THOMPSON,         *
                         *                         No. 16-722V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: January 29, 2018
                         *
SECRETARY OF HEALTH      *                         Stipulation; tetanus-diphtheria (“Td”);
AND HUMAN SERVICES,      *                         shoulder injury.
                         *
             Respondent. *
******************** *

Maximillian J. Muller, Muller Brazil LLP, Dresher, PA, for Petitioner;
Sarah C. Duncan, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On January 24, 2018, the parties filed a joint stipulation concerning the
petition for compensation filed by Teresa Thompson on June 21, 2016. Petitioner
alleged that the tetanus-diphtheria (“Td”) vaccine she received on June 29, 2015,
which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a),
caused her to suffer a right shoulder injury. Petitioner further alleges that she
suffered the residual effects of this injury for more than six months. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on her behalf as a result of her condition.

      Respondent denies that the Td vaccine caused petitioner to suffer a right
shoulder injury or any other injury.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       a. A lump sum payment of $25,000.00 in the form of a check payable to
          petitioner.

       b. A lump sum payment of $8,538.60, which represents reimbursement
          of a Medicaid lien, in the form of a check payable jointly to petitioner
          and

                                   First Recovery Group, LLC
                                     File No. 746411-116716
                                         P.O. Box 771932
                                     Detroit, MI 48277-1932

            Petitioner agrees to endorse this check to First Recovery Group,
            LLC.

       These amounts represent compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 16-722V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master



       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
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